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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                                  4:10CR3092
                              )
          v.                  )
                              )
DAVID W. SEEVERS, MARCELLA M. )                       MEMORANDUM AND ORDER
SCHARTON,                     )
                              )
               Defendants.    )

      The defendant, David W. Seevers, has moved to continue trial, (filing no.27), because
plea negotiations are ongoing between the parties. Co-defendant Marcella M. Scharton and
the government do not oppose the requested continuance. The Court finds defendant’s
motion will be granted.


      IT IS ORDERED:


      1)     Defendant, David W. Seevers', motion to continue, (filing no. 27), is granted.

      2)     The trial of this case is set to commence before the district judge at 9:00 a.m.
             on February 22, 2011 for a duration of four days. Jury selection will be at the
             commencement of trial.

      3)     Based upon the showing set forth in the defendant’s motion and the
             representations of his counsel, the Court further finds that the ends of justice
             will be served by continuing the trial; and that the purposes served by
             continuing the trial date in this case outweigh the interest of the defendants and
             the public in a speedy trial. Accordingly, the time between today’s date and
             February 22, 2011 shall be excluded for speedy trial calculation purposes. 18
             U.S.C. § 3161(h)(7).

      DATED this 29 th day of December, 2010.            BY THE COURT:

                                                         s/ Cheryl R. Zwart
                                                         United States Magistrate Judge
